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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                            PALM BEACH DIVISION

  AFFORDABLE AERIAL PHOTOGRAPHY,
  INC.,

             Plaintiff,
                                                                         CASE NO. 9:13-CV-80254
  v.                                                                     Judge Kenneth L. Ryskamp
                                                                         Magistrate James M. Hopkins
  MICHAEL NICKLAUS and GOLDEN BEAR
  REALTY, LLC,

             Defendants.

                 DEFENDANT, MICHAEL NICKLAUS’ ANSWER AND
                AFFIRMATIVE DEFENSES TO PLAINTIFF’S AMENDED
          COMPLAINT FOR COPYRIGHT INFRINGEMENT AND CIRCUMVENTION

             Defendant, Michael Nicklaus (“Nicklaus”), by and through undersigned counsel and

  pursuant to the applicable Rules of Florida Civil Procedure, hereby files his Answer to Plaintiff’s

  Amended Complaint for Copyright Infringement and Circumvention as follows:

             1.        Nicklaus admits that this action purports to arise under the Copyright Act but

  denies that Plaintiff is entitled to the relief sought.

             2.        Nicklaus admits that this Court has subject matter jurisdiction over the alleged

  claims.

             3.        Nicklaus admits that he is subject to personal jurisdiction in Florida.

             4.        Nicklaus admits that there is venue in this District.

                                                           THE PLAINTIFF

             5.        Nicklaus is without knowledge as to the allegations in paragraph 5, and therefore

  denies same.




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          6.        Nicklaus is without knowledge as to the allegations in paragraph 6, and therefore

  denies same.

          7.   Nicklaus is without knowledge as to the allegations in paragraph 7, and therefore
  denies same.

                                                      THE DEFENDANTS

          8.        Nicklaus admits the allegations in paragraph 8, except that the suite number is 205

  not 206.

          9.        Nicklaus admits the allegations in paragraph 9, except that the suite number is 205

  not 206.

          10.       Nicklaus admits that he is a licensed real estate broker conducting business in

  Palm Beach County, Florida but denies all other inferences and characterizations in paragraph

  10.

          11.       Nicklaus admits the allegations in paragraph 11.

          12.       Nicklaus denies the allegations in paragraph 12.

                                      THE COPYRIGHTED WORKS AT ISSUE

          13.       Nicklaus is without knowledge as to the allegations in paragraph 13, and therefore

  denies same.

          14.       Nicklaus is without knowledge as to the allegations in paragraph 14, and therefore

  denies same.

          15.       Nicklaus is without knowledge as to the allegations in paragraph 15, and therefore

  denies same.

          16.       Nicklaus is without knowledge as to the allegations in paragraph 16, and therefore

  denies same.




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            17.     Nicklaus is without knowledge as to the allegations in paragraph 17, and therefore

  denies same.

            18.     Nicklaus is without knowledge as to the allegations in paragraph 18, and therefore

  denies same.

          19.  Nicklaus is without knowledge as to the allegations in paragraph 19, and therefore
  denies same.



                   INFRINGEMENT AND CIRCUMVENTION BY THE DEFENDANTS

            20.     Nicklaus is without knowledge as to the allegations in paragraph 20, and therefore

  denies same.

            21.     Nicklaus is without knowledge as to the allegations in paragraph 21, and therefore

  denies same.

            22.     Nicklaus is without knowledge as to the allegations in paragraph 22, and therefore

  denies same.

            23.     Nicklaus is without knowledge as to the allegations in paragraph 23, and therefore

  denies same.

            24.     Nicklaus denies the allegations in paragraph 24.

            25.     Nicklaus denies the allegations in paragraph 25.

          26.  Nicklaus is without knowledge as to the allegations in paragraph 26, and therefore
  denies same.

                                                     COUNT I
                                             COPYRIGHT INFRINGEMENT
                                               AGAINST GOLDEN BEAR

            27.     Nicklaus incorporates his responses to paragraphs 1 through 26 as if fully set forth

  herein.



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            28.     Nicklaus is without knowledge as to the allegations in paragraph 28, and therefore

  denies same.

            29.     Nicklaus is without knowledge as to the allegations in paragraph 29, and therefore

  denies same.

            30.     Nicklaus denies the allegations in paragraph 30.

            31.     Nicklaus denies the allegations in paragraph 31.

            32.     Nicklaus denies the allegations in paragraph 32.

                                                    COUNT II
                                             COPYRIGHT INFRINGEMENT
                                                AGAINST NICKLAUS

            33.     Nicklaus incorporates his responses to paragraphs 1 through 26 as if fully set forth

  herein.

            34.     Nicklaus is without knowledge as to the allegations in paragraph 34, and therefore

  denies same.

            35.     Nicklaus is without knowledge as to the allegations in paragraph 35, and therefore

  denies same.

            36.     Nicklaus denies the allegations in paragraph 36.

            37.     Nicklaus denies the allegations in paragraph 37.

            38.     Nicklaus denies the allegations in paragraph 38.

            39.     Nicklaus denies the allegations in paragraph 39.

                                           COUNT III
                          CIRCUMVENTION BY REMOVAL OR ALTERATION OF
                              COPYRIGHT MANAGEMENT INFORMATION
                                     AGAINST GOLDEN BEAR

            40.     Nicklaus incorporates his responses to paragraphs 1 through 26 as if fully set forth

  herein.


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            41.     Nicklaus is without knowledge as to the allegations in paragraph 41, and therefore

  denies same.

            42.     Nicklaus denies the allegations in paragraph 42.

            43.     Nicklaus denies the allegations in paragraph 43.

            44.     Nicklaus denies the allegations in paragraph 44.

            45.     Nicklaus denies the allegations in paragraph 45

                                           COUNT IV
                          CIRCUMVENTION BY REMOVAL OR ALTERATION OF
                              COPYRIGHT MANAGEMENT INFORMATION
                                      AGAINST NICKLAUS

            46.     Nicklaus incorporates his responses to paragraphs 1 through 26 as if fully set forth

  herein.

            47.     Nicklaus is without knowledge as to the allegations in paragraph 47, and therefore

  denies same.

            48.     Nicklaus denies the allegations in paragraph 48

            49.     Nicklaus denies the allegations in paragraph 49.

            50.     Nicklaus denies the allegations in paragraph 50.

            51.     Nicklaus denies the allegations in paragraph 51.

            WHEREFORE, Defendant, Michael Nicklaus, demands entry of judgment against

  Plaintiff, including attorneys’ fees and costs, together with such other and further relief this

  Court deems just and proper.

                                           AFFIRMATIVE DEFENSES

            52.     Plaintiff is fails to state a claim for statutory damages and attorneys' fees because

  the allegedly infringed works were not timely registered with the Copyright Office.




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          53.       Plaintiff is guilty of laches because Plaintiff intentionally delayed bringing the

  alleged infringement to Nicklaus' attention.

          54.       Plaintiff failed to mitigate his damages.

          55.       To the extent that Plaintiff suffered any damages, they were caused by his own

  acts or omissions.

          56.       To the extent that Plaintiff suffered any damages, they were caused not by

  Nicklaus, but rather by third-parties for which Nicklaus has no control or responsibility.

          57.       Plaintiff is estopped from asserting and/or has waived any claim of infringement

  or damages because Plaintiff intentionally delayed bringing the alleged infringement to Nicklaus'

  attention.

          58.       Plaintiff's claim for infringement against Nicklaus based on acts of third-parties

  fails because Nicklaus did not have the right or ability to supervise the third-parties' actions.

          59.       Plaintiff comes to this Court with unclean hands as he has used the claims for

  alleged infringement to force Nicklaus into using Plaintiff for other services.

          60.       Nicklaus reserves the right to seek to amend his affirmative defenses as discovery

  progresses in this case.




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                                                         Respectfully submitted,


                                                         /s/ Alice K. Sum
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                                          CERTIFICATE OF SERVICE

          I hereby certify that on May 21, 2013, the foregoing document was electronically filed

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record on the attached Service List in the manner specified,

  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive electronically

  Notices of Electronic Filing.

                                                                 s/ Alice K. Sum
                                                                 Alice K. Sum




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                                                     SERVICE LIST

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